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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                           §       Case No.: 19-32130
                                                 §
BORIS TWAIN CLEWIS,                              §       Chapter 7
                                                 §
                Debtor.                          §


                      TRUSTEE’S MOTION TO COMPROMISE
                   CONTROVERSY UNDER BANKRUPTCY RULE 9019

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
         AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
         RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
         FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
         THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
         THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
         TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
         FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
         HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
         HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
         MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
         THE MOTION AT THE HEARING.

         REPRESENTED          PARTIES       SHOULD        ACT     THROUGH         THEIR
         ATTORNEY.

         AN ELECTRONIC HEARING ON THIS MOTION IS SCHEDULED
         BEFORE THE HONORABLE EDUARDO RODRIGUEZ ON FEBRUARY
         21, 2024 AT 9:00 A.M. (CT) BEFORE THE UNITED STATES
         BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF TEXAS.

         Allison Byman, chapter 7 trustee (the “Trustee”) for the bankruptcy estate of Boris Twain

Clewis (“Clewis” or the “Debtor”), files this Motion to Compromise Controversy under

Bankruptcy Rule 9019 (the “9019 Motion”).




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                               Summary of the Requested Relief

       1.      Pursuant to this 9019 Motion, the Trustee seeks approval of a compromise with

DAN Investments, LLC (“DAN”) and First National Title Insurance Company (“FNTI”) on the

following terms:

                   •   DAN agrees to pay the Trustee a lump sum of $70,000.00 and FNTI agrees
                       to pay the Trustee a lump sum of $55,000.00 for a total settlement amount
                       of $125,000.00 (the “Settlement Payment”).

                   •   In the event that all allowed claims of the Debtor’s estate, including but not
                       limited to all administrative expense claims, priority claims and unsecured
                       claims, are paid in full, the Trustee shall pay any remaining funds from the
                       Settlement Payment to DAN and FNTI rather than issuing any surplus
                       payment to the Debtor (the “Excess Settlement Proceeds”).

                   •   DAN and FNTI agree that they have not filed and will not file a proof of
                       claim in the Debtor’s Bankruptcy Case.

                   •   The Trustee, DAN and FNTI will exchange mutual releases.

                   •   Within seven days of receipt of the Settlement Payment, the Trustee will
                       dismiss the Adversary (defined below) with prejudice.

       2.      A copy of the proposed Settlement Agreement and Mutual Release between the

Trustee, DAN and FNTI (the “Settlement Agreement”) is attached as Exhibit 1.

       3.      While DAN and FNTI have agreed to the terms of the compromise set forth in

Exhibit 1, the factual recitations and the statements in support of the proposed settlement set forth

herein are solely those of the Trustee and are not necessarily agreed to by DAN or FNTI.

                                       Factual Background

A.     The Bankruptcy.

       4.      On April 15, 2019 (the “Petition Date”), the Debtor filed his voluntary Chapter 13

bankruptcy petition [Docket. No. 1]. No chapter 13 plan was ever confirmed.

       5.      On May 5, 2021, the Debtor filed his Notice of Conversion [Docket. No. 133]

converting to Chapter 7. On May 11, 2021, the Trustee was appointed.

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       6.      On November 10, 2021, the Debtor filed his Amended Schedule A/B, which listed

certain real property located at 13100 Cullen Blvd., Houston, Texas 77048 (the “Cullen Property”)

as an asset of the Debtor.

       7.      After her appointment, the Trustee inquired about the Cullen Property and began

efforts to sell the Cullen Property for the benefit of the Debtor’s estate. However, chain of title for

the Cullen Property proved to be complicated.

B.     The Cullen Property.

       8.      According to real property records, it appears that Donald Jernigan (“Jernigan”)

purchased the Cullen Property from Camp Peniel, Inc. (“Camp Peniel”) on or about September 4,

1990. In connection with the purchase, Jernigan executed a promissory note (the “Note”) payable

to the order of Camp Peniel which was secured by a lien created by the Deed of Trust executed by

Jernigan for the benefit of Camp Peniel recorded under Clerk’s File No. M803857 in the Official

Public Records of Harris County, Texas (the “Deed of Trust”).

       9.      On or about May 16, 1996, the Note and Deed of Trust were assigned from Camp

Peniel to Redell Clewis (the Debtor’s father) pursuant to the Assignment of Note and Liens

recorded under Clerk’s File No. R928143 in the Official Public Records of Harris County, Texas

(the “Assignment”).

       10.     In June 1999, Redell Clewis (through a power of attorney), recorded and delivered

to the Debtor a deed dated June 9, 1999, recorded under Clerk’s File No. T854960 in the Official

Public Records of Harris County, Texas (the “Deed”) as to the Cullen Property.

       11.     The tax records and appraisal district have listed the Debtor as the owner of the

Cullen Property since 1999 and the Debtor scheduled the Cullen Property as a non-exempt asset

of his bankruptcy estate.



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        12.     Upon information and belief, Redell Clewis passed away on or about June 30, 1999.

        13.     Upon information and belief, Jernigan passed away on or about August 15, 1994,

and, at the time of his passing, Jernigan was divorced and intestate.

        14.     Upon information and belief, Jernigan’s only heirs are Donald Ray Jernigan, Jr.,

son of Jernigan and Tilishia Shanae Jernigan, daughter of Jernigan (collectively, the “Jernigan

Heirs”).

C.      Efforts to Sell the Cullen Property.

        15.     In 2021, the Trustee began working to sell the Cullen Property, but quickly learned

that any title company would insist on additional documentation regarding transfer of the Cullen

Property to the Debtor before a title commitment could be issued.

        16.     While the Trustee was working on those efforts, the Trustee engaged in discussions

with DAN and its real estate agent, Payne, to sell the Cullen Property to DAN in the summer of

2022.

        17.     In August 2022, the Trustee received a written offer (the “Offer”) to purchase the

Cullen Property from DAN and Waseem Jilani for $765,780.00. The Offer was transmitted to the

Trustee by Payne and was signed by Naseem Jilani, as Manager on behalf of DAN and Waseem

Jilani, individually.

        18.     DAN insisted on closing with a title commitment. Accordingly, the Trustee worked

with Stewart Title to determine what would be required to close the sale of the Cullen Property.

Stewart Title stated that they would need additional documentation to close the gap in title from

Mr. Jernigan to the Debtor’s father, Redell Clewis. The Trustee and her counsel provided this

information to DAN through its real estate broker, Payne.




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        19.    To satisfy the title company’s concerns regarding title, the Trustee contacted the

Jernigan Heirs after receiving approval from the Bankruptcy Court [Docket No. 154]. For many

months, the Trustee and her counsel worked to get the necessary documents executed by the

Jernigan Heirs.

        20.    By November 2023, the Trustee believed she had sufficient information to seek

Court approval of a sale of the Cullen Property to DAN. Accordingly, on November 9, 2023, the

Trustee contacted Payne to follow up on her request to submit an updated contract from DAN for

the Cullen Property. Payne did not respond. On November 16, 2023, the Trustee’s counsel again

followed up with Payne regarding the revised contract. Again, Payne did not respond.

        21.    In January 2024, the Trustee contacted her proposed real estate broker, Kevin Riles,

about marketing the Cullen Property since she had not heard from DAN or Payne. Mr. Riles

conducted updated diligence on the Cullen Property and learned that it had been purportedly

transferred to DAN on or about October 16, 2023.

D.      The Purported Sale of the Cullen Property.

        22.    Astonishingly, the Debtor and the Jernigan Heirs executed a General Warranty

Deed that purportedly transferred the Cullen Property to DAN. The alleged transfer occurred

without the knowledge of the Trustee and without obtaining Bankruptcy Court approval of any

kind.

        23.    The Debtor, DAN, and Payne were all aware of the Trustee’s efforts to sell the

Cullen Property and that any sale of the Debtor’s interest in the Cullen Property must be approved

by the Bankruptcy Court.

        24.    Based on the Trustee’s review of the sale documents, it appears that most, if not all,

of the claims in the Debtor’s bankruptcy estate – except administrative claims – were paid upon



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the closing of the sale of the Cullen Property, including but not limited to the tax claims filed by

Harris County.

E.     The Trustee files the Adversary.

       25.       On February 8, 2024, the Trustee filed her Complaint in Adversary No. 24-3020,

Byman v. DAN Investments, LLC, et al., pending in the United States Bankruptcy Court Southern

District of Texas (the “Adversary”). In the Complaint, the Trustee asserted claims for (i) avoidance

of an improper post-petition transfer of the Cullen Property against DAN, the Debtor and Payne,

(ii) claims for turnover under 11 U.S.C. § 542 against DAN and the Debtor and (iii) conspiracy to

against the Debtor and Payne.

       26.       DAN, the Debtor and Payne have all appeared and answered in the Adversary. See

Docket Nos. 12, 13, 15, 20 and 85.

       27.       On September 9, 2024, DAN filed its Amended Third-Party Complaint against First

National Title Insurance Company (the “Third-Party Complaint”) [Docket No. 61]. In the Third-

Party Complaint, DAN asserted claims for breach of contract related to FNTI’s duty to defend and

duty to indemnify.

       28.       On October 7, 2024, FNTI filed its Motion To Dismiss Dan Investments, LLC’s

Third Party Complaint Pursuant To Fed. R. Civ. P. 12(B)(6) (the “Motion to Dismiss”) [Docket

No. 66]. On October 10, 2024, DAN filed its Response To First National Title Insurance

Company’s 12(b)6 Motion. [Docket No. 67]. On October 17, 2024, FNTI filed its Reply To Dan

Investments, LLC’s Response To First National Title Insurance Company’s Motion To Dismiss

[Docket No. 71].

       29.       On November 15, 2024, the Court entered its Order [Docket No. 80], which

granted, in part, and denied, in part, the Motion to Dismiss.



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       30.        Following the conclusion of written discovery and the ruling on the Motion to

Dismiss, counsel for the Trustee, DAN and FNTI engaged in arms-length settlement negotiations

to resolve the Adversary. The aim of the settlement between the parties was to put the bankruptcy

estate in the position it would have been if the sale of the Cullen Property had been administered

by the Trustee.

       31.        Subject to this Court’s approval, the Trustee, DAN and FNTI have agreed to resolve

their claims against each other in accordance with the terms of the attached Settlement Agreement.

                                      The Proposed Settlement

       32.        Subject to this Court’s approval, the proposed settlement terms are as follows:

                     •   DAN agrees to pay the Trustee a lump sum of $70,000.00 and FNTI agrees
                         to pay the Trustee a lump sum of $55,000.00 for a total settlement amount
                         of $125,000.00.

                     •   In the event that all allowed claims of the Debtor’s estate, including but not
                         limited to all administrative expense claims, priority claims and unsecured
                         claims, are paid in full the Trustee shall pay the Excess Settlement Proceeds
                         to DAN and FNTI in accordance with the Settlement Agreement. For the
                         avoidance of doubt, the Debtor will not receive a distribution of any surplus
                         funds in this case.

                     •   DAN and FNTI agree that they have not filed and will not file a proof of
                         claim in the Debtor’s Bankruptcy Case.

                     •   The Trustee, DAN and FNTI will exchange mutual releases.

                     •   Within seven days of receipt of the Settlement Payment, the Trustee will
                         dismiss the Adversary (defined below) with prejudice.

                                     Merits of the Compromise

       33.        The merits of a proposed compromise should be judged under the criteria set forth

in Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414

(1968). TMT Trailer requires that a compromise must be “fair and equitable.” TMT Trailer, 390

U.S. at 424; In re AWECO, Inc., 725 F.2d 293, 298 (5th Cir.), cert. denied, 469 U.S. 880 (1984).


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The terms “fair and equitable” mean that (i) senior interests are entitled to full priority over junior

interests; and (ii) the compromise is reasonable in relation to the likely rewards of litigation. In re

Cajun Electric Power Coop., 119 F.3d 349, 355 (5th Cir. 1997); In re Jackson Brewing Co., 624

F.2d 599, 602 (5th Cir. 1980).

       34.     In determining whether a proposed compromise is fair and equitable, a Court should

consider the following factors:

               (i)     the probabilities of ultimate success should the claim be litigated;

               (ii)    the complexity, expense, and likely duration of litigating the claim;

               (iii)   the difficulties of collecting a judgment rendered from such litigation; and,

               (iv)    all other factors relevant to a full and fair assessment of the wisdom of the
                       compromise.

TMT Trailer, 390 U.S. at 424. The Fifth Circuit has further elaborated on the factors to be

considered in evaluating the wisdom of a proposed settlement. One factor to be considered is “the

paramount interest of creditors with proper deference to their reasonable views.” In re Foster

Mortgage Corp., 68 F.3d 914, 917 (5th Cir. 1996). Another factor bearing on the wisdom of the

compromise is the extent to which the proposed settlement is the product of arms-length

negotiation. Foster Mortgage, 68 F.3d at 918.

       35.     In deciding whether to accept a compromise, a trustee is required to reach an

informed judgment, after diligent investigation, as to whether it is prudent to eliminate the inherent

risks, delays, and expense of prolonged litigation. In re Mailman Stream Carpet Cleaning Corp.,

212 F.3d 632 (1st Cir. 2000). Under Bankruptcy Rule 9019, the decision to approve a compromise

of controversy is within the sound discretion of the Bankruptcy Court. See In re Aweco, Inc., 725

F.2d 293, 297 (5th Cir.), cert denied, 496 U.S. 880 (1984). However, the approval must receive

the “informed, independent judgment of the Bankruptcy Court.” TMT Trailer Ferry, 390 U.S. at


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424. The test to apply is: whether or not the terms of the proposed compromise fall within the

reasonable range of litigation possibilities. Barry v. Smith (In re New York, N.H. & H.R.R.), 632

F.2d 955, 960 (2nd Cir.), cert denied, 449 U.S. 1062 (1980).

       36.     The Trustee is not required to present a full mini-trial or evidentiary hearing to

adjudicate the issues being settled. Thus, when determining whether to approve a compromise,

this Court “is not to decide the numerous questions of law and fact raised” by the compromise, but

is “to canvass the issues and see whether the settlement falls below the lowest point in the range

of reasonableness.” See e.g., In re W.T. Grant, Co., 699 F.2d 599, 608 (2d Cir. 1983), cert. denied,

Cosoff v. Rodman, 464 U.S. 822 (1983).

       37.     The Trustee believes that the negotiated compromise satisfies the requirements

established by the Supreme Court in TMT Trailer and the Fifth Circuit in Cajun Elec. Power.

                               Analysis of Proposed Compromise

       38.     Probabilities of Ultimate Success. The Trustee has evaluated the claims asserted in

the Adversary and believes she would have prevailed on her claims against DAN, Payne and the

Debtor. Specifically, under 11 U.S.C. § 549(c), the Trustee argued that DAN was not a good faith

purchaser without knowledge of the Debtor’s bankruptcy case. DAN vehemently disputed that

contention and alleged that it was unaware the Debtor’s bankruptcy case was still pending when it

purchased the Cullen Property in October 2024. For its part, FNTI alleges that no coverage was

available to DAN under the relevant title insurance issued in connection with the sale. Both DAN

and FNTI asserted that the Trustee could not avoid the transfer of the Cullen Property because the

Debtor did not have an interest in the Cullen Property due to a defect in title.

       39.     While the Trustee recognizes there is always risk in litigation, the Trustee believes

she would have prevailed despite DAN’s claim that it was a “good faith purchaser.” The Trustee



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also recognizes that tax claims owed to Harris County were paid when the Cullen Property was

sold. Most importantly, the Settlement Payment from DAN and FNTI of $125,000.00 will be

enough to satisfy all administrative, priority and unsecured claims in the Debtor’s bankruptcy

estate. Accordingly, the Trustee believes this factor supports the proposed settlement.

        40.     Complexity, Expense and Likely Duration. The legal and factual disputes related

to the title history of the Cullen Property were undoubtedly complex. The transactions in question

occurred more than 30 years ago and almost all of the people that signed the relevant documents

have passed away. Under the circumstances, the Trustee believes this factor supports the proposed

compromise.

        41.     Difficulty in Collecting Judgment. The Trustee believes she could collect any

judgment that might be entered against DAN. The Trustee believes this factor is neutral to the

proposed settlement.

        42.     Other Factors. The Trustee believes that the proposed compromise is fair and

equitable and in the best interest of the estate. The parties reached the settlement through

significant, arms-length negotiations. The parties conducted negotiations in good faith and free of

fraud or collusion. The Settlement Agreement will bring an end to confusion over ownership on

the Cullen Property which has existed for decades. Moreover, the Settlement Agreement should

provide enough cash into the Debtor’s estate to pay all claims and creditors.

        43.     The proposed settlement meets the applicable 5th Circuit standards. Accordingly,

the Trustee requests that the Court approve the proposed compromises as set forth above and grant

such other just relief as is appropriate.

        DATED: January 24, 2025.




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                                               TRUSTEE




                                 CERTIFICATE OF SERVICE

       I hereby certify that this instrument was served by United States first class mail, with proper
postage affixed, addressed to the parties set forth on the attached Service List on this 24th day of
January 2025 and all parties received notification through the Court’s CM/ECF system.

                                                      /s/ Thomas A. Woolley, III
                                                        Thomas A. Woolley, III




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Label Matrix for local noticing                      City of Houston Liens                                Harris County
0541-4                                               c/o John Dillman                                     Linebarger Goggan Blair & Sampson LLP
Case 19-32130                                        Linebarger Goggan Blair & Sampson LLP                C/O John P. Dillman
Southern District of Texas                           P.O. Box 3064                                        PO Box 3064
Houston                                              Houston, TX 77253-3064                               Houston, TX 77253-3064
Fri Jan 24 15:11:10 CST 2025
Harris County Court Costs                            4                                                    City of Houston
houston_bankruptcy@lgbs.com                          United States Bankruptcy Court                       P.O. Box 1586
c/o John P. Dillman                                  PO Box 61010                                         Houston, TX 77251-1586
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Houston, TX 77253-3064

City of Houston, Et Al                               Harris County Court Costs                            Harris County et al.
Linbarger Groggan Blair Samson LLP                   c/o John P. Dillman                                  c/o John P. Dillman
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Harris County, Et Al                                 Houston Liens                                        INTERNAL REVENUE SERVICE
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US Trustee                                           Allison D Byman                                      Boris Twain Clewis
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